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      In The United States Court of Federal Claims
                                           No. 12-127C

                                      (Filed: August 17, 2012)
                                             __________
 SOUTH WESTERN OKLAHOMA
 DEVELOPMENT AUTHORITY,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                            __________

                                             ORDER
                                            __________

        On August 16, 2012, a telephonic preliminary status conference was held in this case.
Participating in the conference were Dustin J. Hopson, for plaintiff, and William P. Rayel, for
defendant. Consistent with the discussions during the conference, the schedule is as follows:

       1.       On or before November 1, 2012, initial disclosures under RCFC 26(a)(2)
                shall be completed;

       2.       On or before May 22, 2013, the parties shall disclose all expert witnesses
                and shall provide reports required by RCFC 26(a)(2);

       3.       On or before July 31, 2013, the parties shall make all expert witnesses
                available for deposition;

       4.       On or before August 30, 2013, discovery shall be completed; and

       5.       On or before September 13, 2013, the parties shall file a joint status report
                indicating how this case should proceed with a proposed schedule, if
                appropriate.

       IT IS SO ORDERED.


                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
